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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
In Re:                             )     Chapter 7 Case
John Yousefzai and                 )     Case No. 15-34697
Armanouhi Arzomanian,              )
                   Debtors.        )     Hon. Jacqueline P. Cox

                                    NOTICE OF MOTION
TO: See Attached List

        PLEASE TAKE NOTICE that on Tuesday, June 8, 2021 at 1:00 PM, I will appear before
the Honorable Jacqueline P. Cox, or any judge sitting in Judge Cox’s place, and present the United
States Trustee’s Motion for Order Reopening Chapter 7 Case Pursuant to 11 U.S.C. § 350(B)
and Rule 5010 of the Federal Rules of Bankruptcy Procedure and for Authorization to
Appoint a Chapter 7 Trustee, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

      To appear by video, (1) use this link: https://www.zoomgov.com/. (2) Enter the meeting
ID 1612732896. (3) Enter the passcode 778135.

       To appear by telephone, (1) call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. (2) Enter the meeting ID 1612732896. (3) Enter passcode 778135.

          When prompted identify yourself by stating your full name.

          To reach Judge Cox’s web page go to www.ilnb.uscourts.gov and click on the tab for
Judges.

        If you object to this motion and want it called on the presentment date above, you may
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may call the matter regardless.

                                                    /s/ Adam G. Brief
                                                    Adam G. Brief, Assistant U.S. Trustee
                                                    OFFICE OF THE U.S. TRUSTEE
                                                    219 S. Dearborn Street
                                                    Chicago, IL 60604
                                                    adam.brief@usdoj.gov
                                                    (202) 503-7104

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                              CERTIFICATE OF SERVICE


       I, Adam G. Brief, Assistant U.S. Trustee, certify that I served copies of the Notice of
Motion and Motion for Order Reopening Chapter 7 Case Pursuant to 11 U.S.C. § 350(B)
and Rule 5010 of the Federal Rules of Bankruptcy Procedure and for Authorization to
Appoint a Chapter 7 Trustee on each entity shown on the attached list at the address shown and
by the method indicated on the list on May 26, 2021 by 5:00 PM.

                                                  /s/ Adam G. Brief


                                       SERVICE LIST

Registrants Served Through the Court’s Electronic Notice for Registrants:

Caleb Halberg chalberg@dykema.com,
Rocio Herrera rherrera@noonanandlieberman.com,
Ariane Holtschlag aholtschlag@wfactorlaw.com,
David P Leibowitz dleibowitz@lodpl.com,
Zhijun Liu jliu@wfactorlaw.com,
Sara E Lorber slorber@wfactorlaw.com,
Ariel Weissberg ariel@weissberglaw.com,

Parties Served via First Class Mail:

JOHN YOUSEFZAI
1130 ASHLAND AVENUE
WILMETTE, IL 60091

JOHN YOUSEFZAI
9514 KEDVALE AVE
SKOKIE, IL 60076-1425

ARMANOUHI ARZOMANIAN
1130 ASHLAND AVENUE
WILMETTE, IL 60091

ARMANOUHI ARZOMANIAN
9514 KEDVALE AVE
SKOKIE, IL 60076-1425




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In Re:                                        )       Chapter 7 Case
                                              )
John Yousefzai and                            )       Case No. 15-34697
Armanouhi Arzomanian,                         )
                                              )
                       Debtors.               )       Hon. Jacqueline P. Cox


              MOTION FOR ORDER REOPENING CHAPTER 7 CASE
              PURSUANT TO 11 U.S.C. § 350(b) AND RULE 5010 OF THE
              FEDERAL RULES OF BANKRUPTCY PROCEDURE AND FOR
                AUTHORIZATION TO APPOINT A CHAPTER 7 TRUSTEE

         Patrick S. Layng, the United States Trustee for the Northern District of Illinois (“U.S.

Trustee”), by and through the Assistant U.S. Trustee, Adam G. Brief, hereby requests entry of an

order reopening this case pursuant to Section 350(b) of the Bankruptcy Code and Bankruptcy Rule

5010 and for authorization to appoint a chapter 7 trustee. In support of his motion, the U.S. Trustee

respectfully states as follows:

                                         JURISDICTION

         1.     The Court has jurisdiction to hear and determine this proceeding under 28 U.S.C.

§ 157(b)(2) and IOP 15(a) and Local Rule 40.3.1 of the United States District Court for the

Northern District of Illinois.

         2.     Movant is the U.S. Trustee for the Northern District of Illinois and is charged with

supervising the administration of bankruptcy cases under 28 U.S.C. § 586(a). The U.S. Trustee has

standing to bring this Motion under 11 U.S.C. § 307.




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                                        BACKGROUND

       3.      John Yousefzai and Armanouhi Arzomanian (“Debtors”) commenced this case by

filing a voluntary petition for relief under Chapter 7 of the Bankruptcy Code on October 12, 2015.

       4.      David P Leibowitz was appointed and served as the chapter 7 trustee (“Chapter 7

Trustee”).    On May 11, 2016, the Chapter 7 Trustee filed a No Asset Report. [Dkt. 66]

Subsequently, the Court entered an order discharging the Chapter 7 Trustee and closing this

bankruptcy case.

       5.      More recently, the U.S. Trustee received notification that the Debtors are entitled

to an escrow distribution from an undisclosed prepetition real estate transaction.

       6.      Upon information and belief, the U.S. Trustee believes that these escrow proceeds

may be property of the estate pursuant to 11 U.S.C. § 541(a).

                                     RELIEF REQUESTED

       7.      The U.S. Trustee requests that the Court reopen this bankruptcy case and authorize

the U.S. Trustee to appoint a chapter 7 trustee.

       8.      Section 350 of the Bankruptcy Code provides that:

               (a) After an estate is fully administered and the court has discharged the trustee,
                   the court shall close the case.

               (b) A case may be reopened in the court in which such case was closed to
                   administer assets, to accord relief to the debtor, or for other cause.

Rule 5010 of the Federal Rules of Bankruptcy Procedure implements Section 350(b).

       9.      Based on the foregoing, the U.S. Trustee requests that the Court reopen this

bankruptcy case and authorize the U.S. Trustee to appoint a chapter 7 trustee to further investigate

and determine whether assets are available for creditors and for any other action the chapter 7

trustee deems necessary.
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       WHEREFORE, the U.S. Trustee respectfully asks the Court to enter an order: (1)

reopening this case; (2) authorizing the U.S. Trustee to appoint a chapter 7 trustee to represent the

estate; and (3) for such other and further relief as this Court deems appropriate.



                                                      RESPECTFULLY SUBMITTED,
                                                      PATRICK S. LAYNG
                                                      UNITED STATES TRUSTEE


Dated: May 26, 2021                                   /s/ Adam G. Brief
                                                      Adam G. Brief, Assistant U.S. Trustee
                                                      OFFICE OF THE U.S. TRUSTEE
                                                      219 S. Dearborn Street
                                                      Chicago, IL 60604
                                                      adam.brief@usdoj.gov
                                                      (202) 503-7104




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